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United States Courts
Southern District of Texas
FILED

A091 (Rev. 8/01) Criminal Complaint

UNITED STATES DISTRICT COURT APR 2 0 2005
SOUTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA Richa ouiuy, Clerk of Court
V. CRIMINAL COMPLAINT
zZ NG SHUN

Case Number: 2-0 S-26I5“
Ji Lin Sheng, China

“

1, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about 4/19/2005 in Brooks County, in the
(Date)
Southern District of Texas defendant, . Zhang YING SHUN

did knowingly and unlawfully enter the United States from Mexico, at a point near Hidalgo, Texas, which said
time and place was other than as designated by immigration officials of the United States for the enterance of
immigrants into the United States,

in violation of Title 8 United States Code, Section(s) 1325

I further state that | am a(n) Special Agent and that this complaint is based on the
Official Title

" following facts:

On April 19, 2005, Falfurrias U.S. Border Patrol Agents performed a search on a tractor truck and trailer at the
Falfurrias Border Patrol checkpoint. The search was performed subsequent to a K-9 alert and resulted in the
discovery of seventeen individuals hiding inside the trailer. !mmigration examinations performed on the
individuals revealed all seventeen were citizens and nationals of China and were illegally present in the United
States. Record Checks revealed a female identified as Zhang YING SHUN (1 of the 17 aliens) is an illegal
Chinese alien who was expeditiously removed from the Los Angeles Airport on March 22, 2003. Record
checks indicate she was removed because she attempted to enter the United States using a false passport.
SHUN admitted to entering the U.S. by crossing the Rio Grande River from Mexico into the United States on an
inner tube near Hidalgo, Texas, on or about April 15, 2005, in an area not designated for the entrance of

immigrants. L
Ly Mace
Signature of Coney
Eric Martin

Printed Name of Complainant

_- Cgipud Christi, Texas?)

Sworn to before me and signed in my presence,
April 20, 2005 * at
Date

B. Janice Ellington, U.S. Magistrate Judge
Name and Title of Judicial Officer

re of Judicial Officer
